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                     UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION


    MWK RECRUITING INC.,

              Plaintiff,
                                                 Case No. 1:18-cv-00444-RP
              v.

    EVAN P. JOWERS,

              Defendant.



    EVAN P. JOWERS

              Counterclaimant,

              v.

    MWK RECRUITING, INC., ROBERT
    E. KINNEY, KINNEY RECRUITING
    LLC, and KINNEY RECRUITING
    LIMITED

              Counterdefendants.

MWK'S1 RESPONSE TO NOTICE OF EVAN P. JOWERS'S OBJECTIONS TO
      MWK'S AMENDED IDENTIFICATION OF TRIAL EXHIBITS




1MWK refers to the Plaintiff MWK Recruiting, Inc., its successor in interest, Counsel
Holdings, Inc., and all Counterdefendants.
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I.     INTRODUCTION

       MWK files this response to Defendant and Counterclaimant Evan P. Jowers’s

(“Jowers”) objections to MWK’s Amended Identification of Trial Exhibits. For the

reasons that follow, Jowers’s objections to Exhibits P-1 through P-135—excluding

Jowers’s objections under FRE 402 and FRE 403 to Exhibit P-88—must be deemed

waived pursuant to Local Rule CV-16(g).

II.    ARGUMENT

       Pursuant to Local Rule CV-16(f)(4) and the Court’s October 15, 2021 Order

(Dkt. 301), MWK submitted its Identification of Trial Exhibits on October 20,

2021. Dkt. No. 302-2. In its filing, MWK identified Exhibits P-1 to P-120. Id. On the

same day, MWK submitted its Initial Deposition Designations pursuant to Local Rule

CV-16(f)(6). Dkt. No. 302-4. MWK designated testimony of depositions by written

questions to fourteen law firms regarding candidate placements made by Jowers, as

well as the testimony of Ms. Alexis Lamb. Id. at 3–5.

       After learning that the Court would allow designated deposition testimony to

be admitted as trial exhibits, MWK filed an Amended Identification of Trial

Exhibits. Dkt. 317.2 MWK’s amended list included the previously designated

depositions as Exhibits P-121 to P-135. Id. at 8–9.

       On December 2, 2021, Jowers filed his objections to MWK’s Amended

Identification of Trial Exhibits. Dkt. 323. Jowers specifically raises objections to




2Counsel for MWK notified Jowers’s counsel via email on November 26, 2021 that it would be moving
designated deposition testimony into evidence as exhibits per the Court’s instructions.



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Exhibits P-11, P-12, P-15, P-46 through P-50, P-59 through P-61, P-73, P-74, P-87,

P-88, P-92 through P-96, P-98 through P-145, and P-152 through P-160. This is the

first instance in which Jowers has objected to any of Exhibits P-1 through P-120 or

MWK’s designated deposition testimony, P-121 through P-135. Jowers does not object

to any of these particular exhibits under FRE 402 or FRE 403 except for Exhibit P-88.

Dkt. 323 at 5.

      Pursuant to Local Rule CV-16(g), Jowers was required to serve and file lists

disclosing any objections to the use of MWK’s designated deposition testimony and

any objections to MWK’s exhibits by October 27, 2021. Excluding his FRE 402 and

FRE 403 objections to Exhibit P-88, Jowers failed to timely serve and file his

objections to both Exhibits P-1 through P-120 and MWK’s designated deposition

testimony, Exhibits P-121 through P-135. Further, Jowers has not shown—and

cannot show—good cause for the Court to excuse his thirty-seven-day delay in serving

and filing his objections. Under Rule CV-16(g), Jowers’s objections to Exhibits P-1

through P-135 must be deemed waived.




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Dated: December 3, 2021                 Respectfully submitted,




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